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       HENKELS & MCCOY, INC., a Pennsylvania
   6   Corporation and HENKELS & MCCOY GROUP,
       INC., a Pennsylvania Corporation
   7
   8                                  UNITED STATES DISTRICT COURT

   9                                 CENTRAL DISTRICT OF CALIFORNIA

 10
 11    MIKE ROSS, an individual,                             Case No.: 2:18-cv-03375
 12                   Plaintiffs,
                                                             DEFENDANTS’ ANSWER TO
 13    vs.                                                   COMPLAINT
 14    HENKELS & MCCOY, INC., a corporation;
       HENKELS & MCCOY GROUP, INC., and
 15    DOES 1 through 5, inclusive,
 16                   Defendants.
 17
 18
 19             Defendant HENKELS & MCCOY, INC. a corporation and HENKELS & MCCOY

 20    GROUP, INC. (“Defendants” or “H&M”), for its selves and for no other defendant, hereby

 21    answers the allegations of the Complaint of Plaintiff MIKE ROSS, an individual, as follows:

 22                                    PARTIES AND JURISDICTION

 23             1.    In response to paragraph 1 of the Complaint, Defendants lack sufficient

 24    information or belief to admit or deny.

 25             2.    In response to paragraph 2 of the Complaint, Defendants admit that Henkels &

 26    McCoy Inc. is a corporation formed under the laws of the Commonwealth of Pennsylvania,

 27    which does business in the State of California.

 28             3.    In response to paragraph 3 of the Complaint, Defendants admit that Henkels &

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   1   Coy Group, Inc. is a corporation formed under the laws of the Commonwealth of Pennsylvania.
   2   Defendant Henkels & McCoy Group, Inc. denies that it does business in the State of California.
   3            4.    In response to paragraph 4 of the Complaint, the allegations call for a legal
   4   conclusion to which no response is required. No response to Plaintiff’s descriptions,
   5   characterizations or interpretations is required. To the extent a response is required, Defendants
   6   lack sufficient information or belief to admit or deny the allegations and, on that basis, deny the
   7   allegations.
   8            5.    In response to paragraph 5 of the Complaint, the allegations call for a legal
   9   conclusion to which no response is required. No response to Plaintiff’s descriptions,
 10    characterizations or interpretations is required. To the extent a response is required, Defendants
 11    lack sufficient information or belief to admit or deny the allegations and, on that basis, deny the
 12    allegations.
 13                                     JURISDICTION AND VENUE
 14             6.    In response to paragraph 6 of the Complaint, the allegations call for a legal
 15    conclusion to which no response is required. To the extent a response is required, Defendants
 16    deny that one or more Defendants “reside” in Los Angeles County, deny that jurisdiction and
 17    venue are appropriate in Los Angeles Superior Court, and further deny that Defendants violated
 18    any laws or statutes that would give rise to jurisdiction and venue.
 19                                       FACTUAL BACKGROUND
 20             7.    In response to paragraph 7 of the Complaint, Defendants lack sufficient
 21    information or belief to admit or deny the allegations and, on that basis, deny the allegations.
 22             8.    In response to paragraph 8 of the Complaint, Defendants admit that Mike Ross
 23    was hired in or about July 2016 to serve as Regional Safety Manager. As to the remainder of the
 24    allegations in paragraph 8, the stated job duties are some of those expected of Defendants’
 25    Regional Safety Manager.
 26             9.    In response to paragraph 9 of the Complaint, no response to Plaintiff’s
 27    descriptions, characterizations or interpretations is required. To the extent a response is required,
 28    Defendants deny the allegations.

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   1            10.   In response to paragraph 10 of the Complaint, Defendants deny the allegations.
   2            11.   In response to paragraph 11 of the Complaint, Defendants deny the allegations.
   3            12.   In response to paragraph 12 of the Complaint, the allegations call for a legal
   4   conclusion to which no response is required. As to the remaining allegations, Defendants deny
   5   the allegations.
   6            13.   In response to paragraph 13 of the Complaint, no response to Plaintiff’s
   7   descriptions, characterizations or interpretations is required. To the extent a response is required,
   8   Defendants deny the allegations.
   9            14.   In response to paragraph 14 of the Complaint, no response to Plaintiff’s
 10    descriptions, characterizations or interpretations is required. To the extent a response is required,
 11    Defendants deny the allegations.
 12             15.   In response to paragraph 15 of the Complaint, Defendants admit that Andrew
 13    Salvadore had authority within Defendants’ business to investigate safety concerns. No response
 14    to Plaintiff’s descriptions, characterizations or interpretations is required. To the extent a
 15    response is required, Defendants deny the allegations.
 16             16.   In response to paragraph 16 of the Complaint, Defendants deny terminating
 17    Plaintiff on March 17, 2016 and admit that Defendants terminated Plaintiff on March 17, 2017.
 18    Defendants deny the remaining allegations.
 19             17.   In response to paragraph 17 of the Complaint, no response to Plaintiff’s
 20    descriptions, characterizations or interpretations is required. To the extent a response is required,
 21    Defendants deny the allegations.
 22                                       FIRST CAUSE OF ACTION
 23                                (WHISTLEBLOWER RETALIATION)
 24                                   (By ROSS Against DEFENDANTS)
 25             18.   In response to the allegations set forth in the Complaint, Defendant incorporates
 26    each and every admission, denial, allegation and other response contained in paragraphs 1
 27    through 17 above as if set forth in full herein.
 28             19.   In response to paragraph 19 of the Complaint, no response to Plaintiff’s

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   1   descriptions, characterizations or interpretations is required. Further, the allegations call for a
   2   legal conclusion to which no response is required. To the extent a response is required,
   3   Defendants deny the allegations.
   4            20.   In response to paragraph 20 of the Complaint, no response to Plaintiff’s
   5   descriptions, characterizations or interpretations is required. Further, the allegations call for a
   6   legal conclusion to which no response is required. To the extent a response is required,
   7   Defendants deny the allegations.
   8            21.   In response to paragraph 21 of the Complaint, the allegations call for a legal
   9   conclusion to which no response is required. To the extent a response is required, Defendants
 10    deny the allegations.
 11             22.   In response to paragraph 22 of the Complaint, no response to Plaintiff’s
 12    descriptions, characterizations or interpretations is required. Further, the allegations call for a
 13    legal conclusion to which no response is required. To the extent a response is required,
 14    Defendants deny the allegations.
 15             23.   In response to paragraph 23 of the Complaint, no response to Plaintiff’s
 16    descriptions, characterizations or interpretations is required. Further, the allegations call for a
 17    legal conclusion to which no response is required. To the extent a response is required,
 18    Defendants deny the allegations.
 19             24.   In response to paragraph 24 of the Complaint, Defendants no response to
 20    Plaintiff’s descriptions, characterizations or interpretations is required. Further, the allegations
 21    call for a legal conclusion to which no response is required. To the extent a response is required,
 22    Defendants deny the allegations.
 23                                     SECOND CAUSE OF ACTION
 24                      (TERMINATION IN VIOLATION OF PUBLIC POLICY)
 25                                   (By ROSS Against DEFENDANTS)
 26             25.   In response to the allegations set forth in the Complaint, Defendant incorporates
 27    each and every admission, denial, allegation and other response contained in paragraphs 1
 28    through 24 above as if set forth in full herein.

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   1            26.   In response to paragraph 26 of the Complaint, no response to Plaintiff’s
   2   descriptions, characterizations or interpretations is required. Further, the allegations call for a
   3   legal conclusion to which no response is required. To the extent a response is required,
   4   Defendants deny the allegations.
   5            27.   In response to paragraph 27 of the Complaint, no response to Plaintiff’s
   6   descriptions, characterizations or interpretations is required. Further, the allegations call for a
   7   legal conclusion to which no response is required. To the extent a response is required,
   8   Defendants deny the allegations.
   9            28.   In response to paragraph 28 of the Complaint, no response to Plaintiff’s
 10    descriptions, characterizations or interpretations is required. Further, the allegations call for a
 11    legal conclusion to which no response is required. To the extent a response is required,
 12    Defendants deny the allegations.
 13             29.   In response to paragraph 29 of the Complaint, no response to Plaintiff’s
 14    descriptions, characterizations or interpretations is required. Further, the allegations call for a
 15    legal conclusion to which no response is required. To the extent a response is required,
 16    Defendants deny the allegations.
 17             30.   In response to paragraph 30 of the Complaint, no response to Plaintiff’s
 18    descriptions, characterizations or interpretations is required. Further, the allegations call for a
 19    legal conclusion to which no response is required. To the extent a response is required,
 20    Defendants deny the allegations.
 21             31.   In response to paragraph 31 of the Complaint, no response to Plaintiff’s
 22    descriptions, characterizations or interpretations is required. Further, the allegations call for a
 23    legal conclusion to which no response is required. To the extent a response is required,
 24    Defendants deny the allegations.
 25    ///
 26    ///
 27    ///
 28    ///

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   1                                     AFFIRMATIVE DEFENSES
   2                                       First Affirmative Defense
   3            1.    The Complaint, including each purported cause of action therein, fails to state
   4   facts sufficient to constitute a cause of action upon which relief can be granted against
   5   Defendants.
   6                                      Second Affirmative Defense
   7            2.    Defendants acted reasonably, permissibly and in good faith, at all material times
   8   based on relevant facts and circumstances known to it at the time, or in conformity with and in
   9   reliance upon regulations, orders, practices, policies or procedures.
 10                                       Third Affirmative Defense
 11             3.    The Complaint, including each purported cause of action therein, is barred, in
 12    whole or part, by the doctrines of estoppel, laches, waiver, unclean hands, and after-acquired
 13    evidence of on-the-job and employment-related wrongful conduct.
 14                                       Fourth Affirmative Defense
 15             4.    The Complaint, including each purported cause of action therein, is barred, in
 16    whole or part, by workers’ compensation preemption and the workers’ compensation exclusivity
 17    provisions, as set forth in California Labor Code Sections 3600(a), et seq. and under the Workers’
 18    Compensation Act.
 19                                        Fifth Affirmative Defense
 20             5.    Plaintiff lacks standing to bring the Complaint and each purported cause of action
 21    therein.
 22                                        Sixth Affirmative Defense
 23             6.    Plaintiff has failed to mitigate his damages.
 24                                      Seventh Affirmative Defense
 25             7.    The Complaint, including each purported cause of action contained therein, is
 26    barred because Plaintiff consented to, or ratified and affirmed, the alleged conduct of Defendants.
 27                                       Eighth Affirmative Defense
 28             8.    The Complaint, including each purported cause of action therein, is barred under

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   1   the principles of res judicata and collateral estoppel.
   2                                       Ninth Affirmative Defense
   3            9.    The Complaint, including each purported cause of action contained therein, is
   4   barred, in whole or in part, by Plaintiff’s release, acquiescence, accord and satisfaction.
   5                                       Tenth Affirmative Defense
   6            10.   Plaintiff has failed to satisfy the statutory prerequisites to sue or has failed to
   7   exhaust his administrative, contractual and/or statutory remedies and/or otherwise comply with
   8   the provisions of the Fair Employment and Housing Act, Sections 12900, et seq., of the
   9   California Government Code.
 10                                       Eleventh Affirmative Defense
 11             11.   Any recovery on Plaintiff’s Complaint, or any purported cause of action therein, is
 12    barred because the disputed conduct of the Defendants was privileged and/or justified. Any and
 13    all conduct of which Plaintiff complains and which is attributed to Defendant – although liability
 14    is denied – was a proper exercise of management’s discretion on the part of Defendants and was
 15    undertaken for a fair and reasonable business necessity and bona fide occupational qualification.
 16                                       Twelfth Affirmative Defense
 17             12.   The Complaint, to the extent that it seeks punitive damages, violates Defendants’
 18    right to protection from “excessive fines” as provided in the Eighth Amendment to the United
 19    States Constitution and Article 1, Section 17 of the California Constitution, and violates
 20    Defendants’ right to substantive due process or due course as provided in the Fifth and
 21    Fourteenth Amendments to the United States Constitution and the California Constitution. To
 22    the extent that Plaintiff’s Complaint seeks punitive damages authorized under California law, no
 23    punitive damages may constitutionally be awarded because any statute allowing such an award is
 24    unconstitutional under the Due Process Clause of the Fourteenth Amendment and the California
 25    Constitution, because no law of California establishes the maximum punitive damage award
 26    which may be imposed in this case. Further, Plaintiff’s Complaint does not state a claim for
 27    punitive damages pursuant to Civil Code Section 3294. Therefore, Plaintiff cannot recover
 28    punitive damages in this action.

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   1                                     Thirteenth Affirmative Defense
   2            13.   The Complaint, to the extent that it seeks punitive damages, violates Defendants’
   3   right to procedural due process or due course under the Fourteenth Amendment to the United
   4   States Constitution and Article 1, Section 7 of the California Constitution. Therefore, Plaintiff
   5   cannot recover punitive damages in this action.
   6                                    Fourteenth Affirmative Defense
   7            14.   The Complaint, including each alleged cause of action, is barred by the applicable
   8   statute of limitations, including, but not limited to, the provisions in part II, Title 2, Chapter 3, of
   9   the California Code of Civil Procedure, beginning with Section 335 and continuing through
 10    Section 349.4, the California Government Code §§ 12960 and 12965, and the Labor Code.
 11                                       Fifteenth Affirmative Defense
 12             15.   Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged
 13    therein, is barred by the Doctrine of Managerial Privilege.
 14                                      Sixteenth Affirmative Defense
 15             16.   Plaintiff’s alleged damages are barred or limited, in whole or in part, in that they
 16    were not caused by any alleged misrepresentation or omission or deception by Defendants, and
 17    Plaintiff’s alleged damages were caused by other factors besides Defendants’ alleged
 18    misrepresentation or omission or deception.
 19                                     Seventeenth Affirmative Defense
 20             17.   The alleged claims, damages and purported causes of action in Plaintiff’s
 21    Complaint are satisfied by offset and by the provisions of California Code of Civil Procedure
 22    §431.70.
 23                                      Eighteenth Affirmative Defense
 24             18.   Plaintiff’s claims are barred because Plaintiff has failed to reasonably make use of
 25    Defendants’ anti-harassment, anti-discrimination and anti-retaliation policies and procedures, as
 26    well as the grievance options, mediation options, arbitration options, and other policies and
 27    procedures.
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   1                                   Nineteenth Affirmative Defense
   2            19.   The Complaint and each purported cause of action contained therein were not the
   3   result of any negligence or intentional misconduct on the part of Defendants, but are instead
   4   barred by Plaintiff’s or third parties’ own acts, omissions, negligence or misconduct.
   5                                   Twentieth Affirmative Defense
   6            20.   Plaintiff’s employment was terminable at the will of either Plaintiff or
   7   Defendants, at any time, with or without cause or prior notice under Section 2922 of the
   8   California Labor Code.
   9                                  Twenty-First Affirmative Defense
 10             21.   There is no causal connection or nexus between Plaintiff’s alleged termination and
 11    any alleged harassing, discriminatory or retaliatory activity.
 12                                  Twenty-Second Affirmative Defense
 13             22.   Pursuant to the doctrine of avoidable consequences, Plaintiff failed to complain
 14    and/or failed to complain promptly about any alleged harassment, retaliation or discrimination.
 15                                   Twenty-Third Affirmative Defense
 16             23.   Defendants exercised reasonable care to prevent and promptly correct any
 17    harassing, retaliatory or discriminatory behavior in the workplace.
 18                                  Twenty-Fourth Affirmative Defense
 19             24.   If Plaintiff suffered or sustained any loss, damages or injury at or about the times
 20    and places alleged, although such is not admitted hereby or herein, the same or the direct and
 21    proximate result of the risk, if any there was, was knowingly assumed by Plaintiff.
 22                                    Twenty-Fifth Affirmative Defense
 23             25.   Defendants took immediate and appropriate efforts to quickly and thoroughly
 24    investigate and remedy Plaintiff’s complaints, if any.
 25                                   Twenty-Sixth Affirmative Defense
 26             26.   Plaintiff unreasonably failed to take advantage of any preventive or corrective
 27    opportunity provided by Defendants or to avoid harm otherwise.
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   1                                 Twenty-Seventh Affirmative Defense
   2            27.    Defendants did not engage in any harassment, discrimination or retaliation against
   3   Plaintiff, and the environment in which Plaintiff worked was not hostile or offensive as an
   4   objective matter and was not considered hostile or offensive by Plaintiff as a subjective matter.
   5                                 Twenty-Eighth Affirmative Defense
   6            28.    Any conduct of Defendants was not a substantial factor in bringing about the loss
   7   and damage complained of by Plaintiff, and, therefore, Defendants may not be held liable to
   8   Plaintiff as alleged.
   9                                  Twenty-Ninth Affirmative Defense
  10            29.    Any losses, injuries or damages to Plaintiff were proximately caused or
  11   contributed to by the criminal, negligent or other tortious acts, omissions, conduct or products of
  12   persons, entities or parties other than these answering Defendants, and that each, any, and all
  13   damages recoverable by Plaintiff must be diminished in proportion to the amount of fault
  14   attributable to said other persons, entities or parties, and there must be apportioned among all
  15   such persons, entities and parties the amount of damages attributed to them as an offset against
  16   damages, if any, awarded against Defendants.
  17                                     Thirtieth Affirmative Defense
  18            30.    Any loss, injury, or damage, if any, incurred by Plaintiff was the result of
  19   superseding or intervening causes arising from the criminal, negligent or willful acts or omissions
  20   of other parties including independent contractors which these answering Defendants neither
  21   controlled nor had the right to control, and that said loss, injury or damage was not proximately
  22   or legally caused by any act, omission, or other conduct of Defendants.
  23                                   Thirty-First Affirmative Defense
  24            31.    Defendants are informed and believe, and upon such information and belief
  25   therein allege, that if they are held liable to Plaintiff, which liability is expressly denied, these
  26   answering Defendants shall be liable to Plaintiff only for the amount of non-economic damages
  27   allocated to these answering Defendants in direct proportion to their percentage of fault, if any,
  28   under California Civil Code § 1431, et seq.

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   1                                   Thirty-Second Affirmative Defense
   2            32.   The Complaint, including each purported cause of action contained therein, is
   3   barred, in whole or in part, because Defendants did not engage in the alleged discrimination,
   4   harassment or retaliation set forth in the Complaint, but even assuming for the sake of argument
   5   that they did, Defendants would have taken the same employment actions in any event for
   6   legitimate, non-discriminatory, non-pretextual reasons.
   7                                   Thirty-Third Affirmative Defense
   8            33.   Plaintiff was terminated for good cause.
   9                                   Thirty-Fourth Affirmative Defense
  10            40.   Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s own breach of
  11   duties owed to Defendants.
  12                                    Thirty-Fifth Affirmative Defense
  13            44.   At no time prior to the filing of this action did Plaintiff, or any agent, representative
  14   or employee thereof notify Defendants of any breach of contract, warranty or duty to Plaintiff. By
  15   reason of said failure to notify, Plaintiff is barred from any right of recovery from Defendants.
  16                                    Thirty-Sixth Affirmative Defense
  17            45.   Plaintiff has not been damaged in any sum alleged and is not entitled to any
  18   general, compensatory or other damages, as alleged, sought or referred to, or any other relief at
  19   all.
  20                                  Thirty-Seventh Affirmative Defense
  21            46.   Plaintiff fails to state facts to support a claim for attorneys’ fees.
  22                                   Thirty-Eighth Affirmative Defense
  23            47.    Defendants allege that they presently have insufficient knowledge or information
  24   on which to form a belief as to whether it may have additional, as yet unstated, defenses available
  25   and, therefore, Defendants reserve the right to assert additional defenses in the event discovery
  26   indicates that they would be appropriate.
  27            WHEREFORE, answering Defendants requests that this Court:
  28            1.    Dismiss the Complaint with prejudice;

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   1            2.    Award answering Defendants their costs of suit herein, including reasonable
   2   attorneys’ fees, including, but not limited to, those available pursuant to California Labor Code §
   3   218.5; and,
   4            3.    Such other and further relief as may be appropriate.
   5   DATED: April 26, 2018                       LECLAIRRYAN, LLP
   6                                               By:      /s/ Talia L. Delanoy
                                                            TALIA L. DELANOY
   7                                                        Attorneys for Defendants HENKELS &
                                                            MCCOY, INC., a Pennsylvania Corporation
   8                                                        and HENKELS & MCCOY GROUP, INC., a
                                                            Pennsylvania Corporation
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